                    Case 19-11307            Doc 1       Filed 04/22/19 Entered 04/22/19 13:31:05                              Desc Main
                                                           Document     Page 1 of 50
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Maggie & Max, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Silva & Co. Jewelers
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  151 N. Dartmouth Mall, Unit #1386
                                  North Dartmouth, MA 02747
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Bristol                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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                                                                                       50 number (if known)
          Maggie & Max, LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                               Relationship
                                                  District                                When                         Case number, if known




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         Maggie & Max, LLC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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          Maggie & Max, LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 22, 2019
                                                  MM / DD / YYYY


                             X   /s/ Edward Silva                                                        Edward Silva
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ David B. Madoff                                                      Date April 22, 2019
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 David B. Madoff 552968
                                 Printed name

                                 Madoff & Khoury LLP
                                 Firm name

                                 124 Washington Street, Suite 202
                                 Foxborough, MA 02035
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     508-543-0040                  Email address      alston@mandkllp.com

                                 552968 MA
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         Maggie & Max, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 22, 2019                          X /s/ Edward Silva
                                                                       Signature of individual signing on behalf of debtor

                                                                       Edward Silva
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Maggie & Max, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           219,467.25

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           219,467.25


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            66,855.59


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           138,536.46

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,836,312.54


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,041,704.59




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Maggie & Max, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                $150.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                                                                            Business Checking
           3.1.     Santander Bank                                          Account                         0468                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $150.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Maggie & Max, LLC                                                                      Case number (If known)
                Name


           11a. 90 days old or less:                                 7,336.25    -                                     0.00 = ....                     $7,336.25
                                              face amount                                doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                        $7,336.25
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last               Net book value of          Valuation method used      Current value of
                                                      physical inventory             debtor's interest          for current value          debtor's interest
                                                                                     (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Miscellaneous Jewelry                      April 2018                             $211,481.00        Cost                                $211,481.00



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                                     $211,481.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                        Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 2
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 Debtor         Maggie & Max, LLC                                                             Case number (If known)
                Name


        No. Go to Part 8.
        Yes Fill in the information below.

            General description                                               Net book value of       Valuation method used      Current value of
                                                                              debtor's interest       for current value          debtor's interest
                                                                              (Where available)

 39.        Office furniture
            2 Desks, Chairs                                                               $500.00     Estimate                                 $500.00



 40.        Office fixtures
            Approximately 20 jewelry display cases, plus
            some in storage                                                            Unknown                                               Unknown



 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            3 computers                                                                Unknown                                               Unknown


            Two safes (one is 6x4, the other is 3x3)                                   Unknown                                               Unknown



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                                  $500.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
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 Debtor         Maggie & Max, LLC                                                                Case number (If known)
                Name

            General description                                                  Net book value of      Valuation method used      Current value of
                                                                                 debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.silvaandcojewelers.com                                                         $0.00                                                 $0.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer List                                                                      $0.00                                                 $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                     $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                   Current value of
                                                                                                                                   debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Potential claim v. Dartmouth Mall for negligence in
            connection with robbery                                                                                                            Unknown
            Nature of claim
            Amount requested                                             $0.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 4
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                Name

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                         $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 5
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $150.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                       $7,336.25

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $211,481.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                               $500.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $219,467.25           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $219,467.25




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
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 Fill in this information to identify the case:

 Debtor name         Maggie & Max, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Corporation Service
 2.1                                                  Describe debtor's property that is subject to a lien                          $0.00                    $0.00
       Company
       Creditor's Name

       PO Box 2576
       Springfield, IL 62708
       Creditor's mailing address                     Describe the lien
                                                      For Notice Purposes
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   OFER Mizrahi                                   Describe debtor's property that is subject to a lien                   $55,768.95                      $0.00
       Creditor's Name                                Lien on parcels of diamonds
       29 E. Madison Street
       Heyworth Bldg.
       Suite 116
       Chicago, IL 60602
       Creditor's mailing address                     Describe the lien
                                                      Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       Maggie & Max, LLC                                                                        Case number (if know)
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



        World Gold & Diamonds
 2.3                                                                                                                           $11,086.64                  $0.00
        Inc.                                          Describe debtor's property that is subject to a lien
        Creditor's Name                               Lien on jewelry
        7500 Bellaire Blvd., Ste
        #900
        Houston, TX 77036
        Creditor's mailing address                    Describe the lien
                                                      Lien
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        9979
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $66,855.59

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Cain & Daniels, Inc.
         4902 Eisenhower Blvd.                                                                                  Line   2.3
         Tampa, FL 33634

         Robert J. McKay
         PO Box 7031                                                                                            Line   2.3
         Pasadena, TX 77508




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Maggie & Max, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                    $101,157.84          $101,157.84
           Commonwealth of Massachusetts                             Check all that apply.
           Department of Revenue                                        Contingent
           PO Box 9564                                                  Unliquidated
           Boston, MA 02114                                             Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017-2018                                                 Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $37,378.62          $37,378.62
           Commonwealth of Massachusetts                             Check all that apply.
           Department of Unemployment                                   Contingent
           19 Staniford Street, 5th Floor                               Unliquidated
           Boston, MA 02114                                             Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 & 2018                                               Unemployment Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 11
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 Debtor       Maggie & Max, LLC                                                                               Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    $0.00
           Rhode Island Division of Taxation                         Check all that apply.
           One Capital Hill                                             Contingent
           Providence, RI 02908                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $4,652.22
           AL-JAY, Inc.                                                                Contingent
           PO Box 590                                                                  Unliquidated
           South Yarmouth, MA 02664                                                    Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Business Debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $25,817.34
           Ancora Designs                                                              Contingent
           550 S. Hill Street                                                          Unliquidated
           Los Angeles, CA 90013                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Business Debt
           Last 4 digits of account number      4902
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $18,438.31
           Auresousa                                                                   Contingent
           Travessa Conselheiro Veloso da Cruz                                         Unliquidated
           N 107                                                                       Disputed
           Vila Nova da Gaia    4400-097
                                                                                   Basis for the claim:     Business Debt
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $2,711.83
           Benchmark                                                                   Contingent
           PO Drawer 2929                                                              Unliquidated
           Green Bay, WI 54303                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Business Debt
           Last 4 digits of account number      7862
                                                                                   Is the claim subject to offset?     No       Yes

 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $1,622.00
           Bering Time Inc.                                                            Contingent
           828 W. Hillcrest Blvd, Suite A                                              Unliquidated
           Inglewood, CA 90301                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Business Debt
           Last 4 digits of account number      1336
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 11
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              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $138,075.54
          Brilliant Spark Diamonds                                              Contingent
          580 Fifth Avenue, Suite LL-029                                        Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $34,098.00
          Clear Channel                                                         Contingent
          89 Maple Street                                                       Unliquidated
          Stoneham, MA 02180                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       4271
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $128,000.00
          Cox Media - East                                                      Contingent
          PO Box 105353                                                         Unliquidated
          Atlanta, GA 30348                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,756.82
          Dia-co Jewelry, Inc.                                                  Contingent
          550 S. HIll Street, #1055                                             Unliquidated
          Los Angeles, CA 90013                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $10.00
          Dora International                                                    Contingent
          24 Nwk Pompton Turnpike                                               Unliquidated
          Little Falls, NJ 07424                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       1825
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $395.83
          Eversource                                                            Contingent
          PO Box 56007                                                          Unliquidated
          Boston, MA 02205                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       0147
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20,000.00
          Firestar Fine Jewelry                                                 Contingent
          592 Fifth Avenue, 3rd Floor                                           Unliquidated
          New York, NY 10036
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       0011
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 11
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              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,958.32
          First Class & Co                                                      Contingent
          63 Flushing Avenue, Bldg 27                                           Unliquidated
          Brooklyn, NY 11205                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Bsuiness Debt
          Last 4 digits of account number       SILVAC
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $174,432.00
          FPC Diamonds, LLC                                                     Contingent
          10 Farrier Way                                                        Unliquidated
          Plainville, MA 02762                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,105.00
          Galatea Jewelry Co.                                                   Contingent
          247 W. Bonita Avenue                                                  Unliquidated
          San Dimas, CA 91773                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       1942
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $76,992.90
          Hakman                                                                Contingent
          98 Cuttermill Road                                                    Unliquidated
          Great Neck, NY 11021                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $411.56
          Hibu                                                                  Contingent
          PO Box 3162                                                           Unliquidated
          Cedar Rapids, IA 52406                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       2376
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          Imperial Deltah, Inc.                                                 Contingent
          795 Waterman Avenue                                                   Unliquidated
          East Providence, RI 02914                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       9075
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $40,000.00
          itriaventures d/b/a Biz2 Credit                                       Contingent
          1000 N. West Street, #1200                                            Unliquidated
          Wilmington, DE 19801
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 11
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              Name

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,017.25
          Joia                                                                  Contingent
          1030 West Higgins Road, Suite 102                                     Unliquidated
          Park Ridge, IL 60068                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $47,724.00
          Karleen-KC Jewelry                                                    Contingent
          550 S. Hill Street, Suite 640                                         Unliquidated
          Los Angeles, CA 90013                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       4376
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $86,567.85
          Kaypar Collectables                                                   Contingent
          17 Meron Drive, Unit 201                                              Unliquidated
          Monroe, NY 10950                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $68.75
          Keter Environmental Services                                          Contingent
          PO Box 417468                                                         Unliquidated
          Fall River, MA 02720                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       1189
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,000.00
          Kingsley LLC                                                          Contingent
          850 Narragansett Parkway                                              Unliquidated
          Warwick, RI 02888                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Luca & Danni, Inc.                                                    Contingent
          838 Dyer Avenue                                                       Unliquidated
          Cranston, RI 02920                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $21,883.00
          Mars Jewelry                                                          Contingent
          631 South Olive Street, Suite 302                                     Unliquidated
          Los Angeles, CA 90014                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $21,665.90
          Odelia                                                                Contingent
          62 West 47th Street, Suite 601                                        Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       1210
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $376,034.43
          Old AJ, Inc.                                                          Contingent
          c/o Michael J. Agusta, Esq.                                           Unliquidated
          1012 Maple Drive
                                                                                Disputed
          Franklin Square, NY 11010
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,477.00
          Oro Alexander                                                         Contingent
          16055 Ventura Blvd., Suite 425                                        Unliquidated
          Encino, CA 91436                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       3467
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $79.00
          Paris 1901                                                            Contingent
          18325 Waterview Parkway                                               Unliquidated
          Dallas, TX 75252                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       1521
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $68.31
          Podium Corporation, Inc.                                              Contingent
          1650 W. Digital Drive                                                 Unliquidated
          Lehi, UT 84043                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       1708
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $650.00
          Portugese Channel Semba Studio                                        Contingent
          PO Box 61288                                                          Unliquidated
          New Bedford, MA 02746                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $119,902.57
          PR North Dartmouth LLC                                                Contingent
          c/o Robert Feingold, Esq.                                             Unliquidated
          700 Pleasant Street, Suite 520
                                                                                Disputed
          New Bedford, MA 02742
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lease/Rent
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $84,255.82
          Preit Services, LLC                                                   Contingent
          PO Box 951316                                                         Unliquidated
          Cleveland, OH 44193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,000.00
          R&L Distributors                                                      Contingent
          603 Revere Beach Parkway                                              Unliquidated
          Revere, MA 02151                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $17,209.00
          Raymond Weil-RW USA Corp.                                             Contingent
          485 Madison Avenue, Suite 400                                         Unliquidated
          New York, NY 10022                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       2215
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,735.00
          RDI Diamonds                                                          Contingent
          2300 West Ridge Road, 4th Floor                                       Unliquidated
          Fall River, MA 02720                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       7545
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $41.10
          Rembrandts Charms                                                     Contingent
          370 S. Youngs Road                                                    Unliquidated
          Buffalo, NY 14221                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       6000
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $65,736.20
          ROMAN + JULES by First Image Design                                   Contingent
          98 Cuttermill Road #231                                               Unliquidated
          Great Neck, NY 11021                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $41.10
          RQC, Ltd.                                                             Contingent
          370 S. Youngs Road                                                    Unliquidated
          Buffalo, NY 14221                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       2600
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Maggie & Max, LLC                                                                       Case number (if known)
              Name

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,328.16
          Sanghavi Solitaire, Inc.                                              Contingent
          22 West 48th Street, Suite 200                                        Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       S706
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,000.00
          SH & A                                                                Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Business Debt
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $59,790.85
          Soham Diamonds                                                        Contingent
          51 West 46th Street                                                   Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,532.34
          Sprint                                                                Contingent
          PO Box 629023                                                         Unliquidated
          El Dorado Hills, CA 95762                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       5497
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          St. Michael's Credit Union                                            Contingent
          775 Davol Street                                                      Unliquidated
          Fall River, MA 02720
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Stanley Webb                                                          Contingent
          1 Stonewall Court                                                     Unliquidated
          Westport, MA 02790
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $18,456.12
          Stuller                                                               Contingent
          PO Box 87777                                                          Unliquidated
          Lafayette, LA 70598                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       3009
                                                                             Is the claim subject to offset?     No       Yes




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 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,870.88
          Suncor Ventures, Inc.                                                 Contingent
          18801 N. Thompson Peak Pkwy                                           Unliquidated
          Suite 235                                                             Disputed
          Scottsdale, AZ 85255
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred
          Last 4 digits of account number       0063                         Is the claim subject to offset?     No       Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Synchrony Bank                                                        Contingent
          PO Box 365033                                                         Unliquidated
          Orlando, FL 32896                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,842.20
          Tasha R                                                               Contingent
          7500 Bellaire Blvd, Suite 900                                         Unliquidated
          Houston, TX 77036                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,188.75
          The Swatch Group, Inc.                                                Contingent
          1200 Lincoln Harbor Road, #7                                          Unliquidated
          Weehawken, NJ 07086                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,188.75
          Tissot                                                                Contingent
          1200 Harbor Blvd.                                                     Unliquidated
          Union City, NJ 07087                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       7317
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $227.63
          Verizon                                                               Contingent
          P.O. Box 1                                                            Unliquidated
          Worcester, MA 01654-0001                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       0063
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,714.58
          Victorinox Swiss Army, Inc.                                           Contingent
          PO Box 845362                                                         Unliquidated
          Boston, MA 02284                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       8427
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.55      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $117,225.33
           Wells Fargo Bank, N.A.                                               Contingent
           c/o Orlans PC                                                        Unliquidated
           465 Waverly Oaks Rd., Suite 401                                      Disputed
           Waltham, MA 02452
                                                                             Basis for the claim:    Business Debt
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?      No       Yes


 3.56      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $760.00
           WJFD-FM                                                              Contingent
           651 Orchard Street, Ste 300                                          Unliquidated
           New Bedford, MA 02744                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.57      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $26,553.00
           Zeghani                                                              Contingent
           528 State Street, Suite A                                            Unliquidated
           Glendale, CA 91203                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any
 4.1       Alison W. MacLaren
           Squire Patton Boggs LLP                                                                    Line     3.51
           One Riverfront Plaza
                                                                                                             Not listed. Explain
           1037 Raymond Blvd, Suite 500
           Newark, NJ 07102

 4.2       Altus GTS, Inc.
           2400 Veterans Memorial Blvd., Ste 300                                                      Line     3.54
           Kenner, LA 70062
                                                                                                             Not listed. Explain

 4.3       Jeffrey Kurtzman, Esq.
           Kurtzman Steady, LLC                                                                       Line     3.33
           401 S. 2nd Street, Suite 200
                                                                                                             Not listed. Explain
           Philadelphia, PA 19147

 4.4       John Postl, P.C.
           84 State Street, 11th Floor                                                                Line     3.57
           Boston, MA 02109
                                                                                                             Not listed. Explain

 4.5       Nico Tabibi, APC
           9454 Wilshire Blvd., Penthouse                                                             Line     3.21
           Beverly Hills, CA 90212
                                                                                                             Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 10 of 11
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              Name

 5a. Total claims from Part 1                                                                       5a.       $              138,536.46
 5b. Total claims from Part 2                                                                       5b.   +   $            1,836,312.54

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $              1,974,849.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                  Page 11 of 11
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 Fill in this information to identify the case:

 Debtor name         Maggie & Max, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   Lease with mall
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    PR North Dartmouth LLC
             List the contract number of any                                        200 South Broad Street, 2rd Floor
                   government contract                                              Philadelphia, PA 19102




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Maggie & Max, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Edward and                        5296 N. Main Street                               Tax Debt                           D
             Jennifer Silva                    Fall River, MA 02720                                                                 E/F
                                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Maggie & Max, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $219,781.46
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $2,466,664.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $1,822,235.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                          Dates                Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See 90-list including vendors whose                                                                 $0.00              Secured debt
               goods were returned                                                                                                    Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Edward Silva                                                 Weekly                            $1,500.00          Payroll


       4.2.    Jennifer Silva                                               Weekly                              $350.00          Payroll


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    PR North Dartmouth LLC v.                         Eviction                   Bristol Superior Court                         Pending
               Silva & Company                                                                                                             On appeal
                                                                                                                                           Concluded

       7.2.    The Swatch Group, Inc. v.                         Collection                 Superior Court of New                          Pending
               Webb & Webb d/b/a Silva &                                                    Jersey                                         On appeal
               Co Jewelers                                                                  Law Divison: Hudson
                                                                                                                                           Concluded
                                                                                            County


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               Case title                                        Nature of case               Court or agency's name and               Status of case
               Case number                                                                    address
       7.3.    Wells Fargo Bank,N.A. v.                          Collection                   Bristol Superior Court                      Pending
               Edward Silva, Jennifer Silva                                                                                               On appeal
               and Maggie & Max, LLC
                                                                                                                                          Concluded
               1973CV0008

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                             Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       Break-In (theft of jewelry)                               Insurance company denied payment                           9/6/2018                      $244,000.00


 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address
       11.1.    Madoff & Khoury LLP
                124 Washington Street, Suite
                202
                Foxborough, MA 02035                                 Attorney Fees                                             4/15/2019                      $4,000.00

                Email or website address
                alston@mandkllp.com

                Who made the payment, if not debtor?
                Debtor and Ed Silva




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                 Who was paid or who received                        If not money, describe any property transferred           Dates                Total amount or
                 the transfer?                                                                                                                               value
                 Address
       11.2.     United States Bankruptcy
                 Court
                                                                                                                               4/15/2019                    $335.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers               Total amount or
                                                                                                                      were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer              Total amount or
               Address                                           payments received or debts paid in exchange             was made                            value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services              If debtor provides meals
                                                                 the debtor provides                                                       and housing, number of
                                                                                                                                           patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

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 Debtor        Maggie & Max, LLC                                                                        Case number (if known)




17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.    Bank Five                                        XXXX-5798                   Checking                                                      $0.00
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Cross Roads Storage                                           Edward Silva                         Showcases, window displays,             No
       North Dartmouth, MA                                                                                Christmas decorations                   Yes



 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Debtor has various items in for repair                        In store                             misecallenous customer                           $0.00
                                                                                                          jewelry


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 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Dennis Vieira                                                                                                              Since 2016
                    7 Suzanne Drive
                    Assonet, MA 02702
       26a.2.       Jennifer Silva                                                                                                             Since 2016
                    5296 N. Main Street
                    Fall River, MA 02720

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
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          within 2 years before filing this case.

              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Dennis Vieira


       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.2.       Jennifer Silva



    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Dennis Vieira


       26c.2.       Jennifer Silva



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Biz 2 Credit



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 Edward Silva
       .                                                                                    Twice Daily

                Name and address of the person who has possession of
                inventory records
                Dennis Vieira



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Edward Silva                                   5296 N. Main Street                                 Manager                               100%
                                                      Fall River, MA 02720



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29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Stanley Webb                                   1 Stonewall Court                                   President                        2016 - June 28,
                                                      Westport, MA 02790                                                                   2017

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Jaclyn Webb                                    1 Stonewall Court                                   Vice President                   2016 - June 28,
                                                      Westport, MA 02790                                                                   2017


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Payroll only
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         April 22, 2019

 /s/ Edward Silva                                                       Edward Silva
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                     District of Massachusetts
 In re      Maggie & Max, LLC                                                                    Case No.
                                                                                 Debtor(s)       Chapter      7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       April 22, 2019                                           /s/ Edward Silva
                                                                      Edward Silva/Manager
                                                                      Signer/Title




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    AL-JAY, Inc.
    PO Box 590
    South Yarmouth, MA 02664

    Alison W. MacLaren
    Squire Patton Boggs LLP
    One Riverfront Plaza
    1037 Raymond Blvd, Suite 500
    Newark, NJ 07102

    Altus GTS, Inc.
    2400 Veterans Memorial Blvd., Ste 300
    Kenner, LA 70062

    Ancora Designs
    550 S. Hill Street
    Los Angeles, CA 90013

    Auresousa
    Travessa Conselheiro Veloso da Cruz
    N 107
    Vila Nova da Gaia         4400-097

    Benchmark
    PO Drawer 2929
    Green Bay, WI 54303

    Bering Time Inc.
    828 W. Hillcrest Blvd, Suite A
    Inglewood, CA 90301

    Brilliant Spark Diamonds
    580 Fifth Avenue, Suite LL-029
    New York, NY 10036

    Cain & Daniels, Inc.
    4902 Eisenhower Blvd.
    Tampa, FL 33634

    Clear Channel
    89 Maple Street
    Stoneham, MA 02180

    Commonwealth of Massachusetts
    Department of Revenue
    PO Box 9564
    Boston, MA 02114

    Commonwealth of Massachusetts
    Department of Unemployment
    19 Staniford Street, 5th Floor
    Boston, MA 02114
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Corporation Service Company
PO Box 2576
Springfield, IL 62708

Cox Media - East
PO Box 105353
Atlanta, GA 30348

Dia-co Jewelry, Inc.
550 S. HIll Street, #1055
Los Angeles, CA 90013

Dora International
24 Nwk Pompton Turnpike
Little Falls, NJ 07424

Edward and Jennifer Silva
5296 N. Main Street
Fall River, MA 02720

Eversource
PO Box 56007
Boston, MA 02205

Firestar Fine Jewelry
592 Fifth Avenue, 3rd Floor
New York, NY 10036

First Class & Co
63 Flushing Avenue, Bldg 27
Brooklyn, NY 11205

FPC Diamonds, LLC
10 Farrier Way
Plainville, MA 02762

Galatea Jewelry Co.
247 W. Bonita Avenue
San Dimas, CA 91773

Hakman
98 Cuttermill Road
Great Neck, NY 11021

Hibu
PO Box 3162
Cedar Rapids, IA 52406

Imperial Deltah, Inc.
795 Waterman Avenue
East Providence, RI 02914

itriaventures d/b/a Biz2 Credit
1000 N. West Street, #1200
Wilmington, DE 19801
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Jeffrey Kurtzman, Esq.
Kurtzman Steady, LLC
401 S. 2nd Street, Suite 200
Philadelphia, PA 19147

John Postl, P.C.
84 State Street, 11th Floor
Boston, MA 02109

Joia
1030 West Higgins Road, Suite 102
Park Ridge, IL 60068

Karleen-KC Jewelry
550 S. Hill Street, Suite 640
Los Angeles, CA 90013

Kaypar Collectables
17 Meron Drive, Unit 201
Monroe, NY 10950

Keter Environmental Services
PO Box 417468
Fall River, MA 02720

Kingsley LLC
850 Narragansett Parkway
Warwick, RI 02888

Luca & Danni, Inc.
838 Dyer Avenue
Cranston, RI 02920

Mars Jewelry
631 South Olive Street, Suite 302
Los Angeles, CA 90014

Nico Tabibi, APC
9454 Wilshire Blvd., Penthouse
Beverly Hills, CA 90212

Odelia
62 West 47th Street, Suite 601
New York, NY 10036

OFER Mizrahi
29 E. Madison Street Heyworth Bldg.
Suite 116
Chicago, IL 60602

Old AJ, Inc.
c/o Michael J. Agusta, Esq.
1012 Maple Drive
Franklin Square, NY 11010
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Oro Alexander
16055 Ventura Blvd., Suite 425
Encino, CA 91436

Paris 1901
18325 Waterview Parkway
Dallas, TX 75252

Podium Corporation, Inc.
1650 W. Digital Drive
Lehi, UT 84043

Portugese Channel Semba Studio
PO Box 61288
New Bedford, MA 02746

PR North Dartmouth LLC
c/o Robert Feingold, Esq.
700 Pleasant Street, Suite 520
New Bedford, MA 02742

PR North Dartmouth LLC
200 South Broad Street, 2rd Floor
Philadelphia, PA 19102

Preit Services, LLC
PO Box 951316
Cleveland, OH 44193

R&L Distributors
603 Revere Beach Parkway
Revere, MA 02151

Raymond Weil-RW USA Corp.
485 Madison Avenue, Suite 400
New York, NY 10022

RDI Diamonds
2300 West Ridge Road, 4th Floor
Fall River, MA 02720

Rembrandts Charms
370 S. Youngs Road
Buffalo, NY 14221

Rhode Island Division of Taxation
One Capital Hill
Providence, RI 02908

Robert J. McKay
PO Box 7031
Pasadena, TX 77508
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ROMAN + JULES by First Image Design
98 Cuttermill Road #231
Great Neck, NY 11021

RQC, Ltd.
370 S. Youngs Road
Buffalo, NY 14221

Sanghavi Solitaire, Inc.
22 West 48th Street, Suite 200
New York, NY 10036

SH & A


Soham Diamonds
51 West 46th Street
New York, NY 10036

Sprint
PO Box 629023
El Dorado Hills, CA 95762

St. Michael's Credit Union
775 Davol Street
Fall River, MA 02720

Stanley Webb
1 Stonewall Court
Westport, MA 02790

Stuller
PO Box 87777
Lafayette, LA 70598

Suncor Ventures, Inc.
18801 N. Thompson Peak Pkwy
Suite 235
Scottsdale, AZ 85255

Synchrony Bank
PO Box 365033
Orlando, FL 32896

Tasha R
7500 Bellaire Blvd, Suite 900
Houston, TX 77036

The Swatch Group, Inc.
1200 Lincoln Harbor Road, #7
Weehawken, NJ 07086

Tissot
1200 Harbor Blvd.
Union City, NJ 07087
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Verizon
P.O. Box 1
Worcester, MA 01654-0001

Victorinox Swiss Army, Inc.
PO Box 845362
Boston, MA 02284

Wells Fargo Bank, N.A.
c/o Orlans PC
465 Waverly Oaks Rd., Suite 401
Waltham, MA 02452

WJFD-FM
651 Orchard Street, Ste 300
New Bedford, MA 02744

World Gold & Diamonds Inc.
7500 Bellaire Blvd., Ste #900
Houston, TX 77036

Zeghani
528 State Street, Suite A
Glendale, CA 91203
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                                                               United States Bankruptcy Court
                                                                     District of Massachusetts
 In re      Maggie & Max, LLC                                                                            Case No.
                                                                                 Debtor(s)               Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Maggie & Max, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Edward Silva




    None [Check if applicable]




 April 22, 2019                                                      /s/ David B. Madoff
 Date                                                                David B. Madoff 552968
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Maggie & Max, LLC
                                                                     Madoff & Khoury LLP
                                                                     124 Washington Street, Suite 202
                                                                     Foxborough, MA 02035
                                                                     508-543-0040 Fax:508-543-0020
                                                                     alston@mandkllp.com




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